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 Case2:20-cv-00298-DBB
      19-02043 Doc 45 Document
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                       Document     Page 1 of 74




STEVEN W. CALL (5260)
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P.O. Box 45385
Salt Lake City, Utah 84145-0385
Telephone: (801) 532-1500
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Attorneys for State Bank of Southern Utah


                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF UTAH



STATE BANK OF SOUTHERN UTAH,                         NOTICE OF APPEAL

     Appellant,                                   Case No. 2:20-cv-00298-DBB

v.

ALLEN BEAL,                                           Judge David Barlow

     Appellee.


      NOTICE IS HEREBY GIVEN that State Bank of Southern Utah, the Appellant in

the above-captioned case, hereby appeals to the United States Court of Appeals for the

Tenth Circuit from the District Court’s Memorandum Decision and Order Affirming

Bankruptcy Court’s Decision Granting Motion to Dismiss that was entered on September

16, 2021, a copy of which is attached as Exhibit A; and from the Order and Judgment

Denying Motion to Extend Time, Granting Defendant’s Motion to Dismiss and

Dismissing Adversary Proceeding entered by the Bankruptcy Court on March 31, 2020, a
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                       Document     Page 2 of 74




copy of which is attached as Exhibit B, and from the corresponding Memorandum

Decision entered by the Bankruptcy Court on March 31, 2020, a copy of which is

attached as Exhibit C.

      DATED this 15th day of October, 2021.

                                         RAY QUINNEY & NEBEKER P.C.


                                         /s/ Steven W. Call
                                         Steven W. Call
                                         Attorneys for State Bank of Southern Utah




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 Case2:20-cv-00298-DBB
      19-02043 Doc 45 Document
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                       Document     Page 3 of 74




                                CERTIFICATE OF SERVICE

          I hereby certify that on the 15th day of October, 2021 I electronically filed

NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF system, which

served notice of electronic filing to the ECF users registered to receive email

notice/service for this case.


                                                 /s/ Lisa Conterio, Legal Assistant




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       19-02043 Doc 45 Document
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                        Document      Page 4 of 74
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       19-02043 Doc 45 Document
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       19-02043 Doc 45 Document
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                        Document      Page 10 of 74
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     2:20-cv-00298-DBB
       19-02043 Doc 45 Document
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     2:20-cv-00298-DBB
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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     2:20-cv-00298-DBB
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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     2:20-cv-00298-DBB
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                        Filed 10/18/21
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                        Filed 10/18/21
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Case
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                        Document      Page 45 of 74
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     2:20-cv-00298-DBB
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                        Document      Page 49 of 74
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                        Document      Page 51 of 74
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                        Document      Page 52 of 74
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                        Document      Page 54 of 74
Case
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                        Document      Page 55 of 74
Case
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     2:20-cv-00298-DBB
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                        Document      Page 56 of 74
Case
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                        Document      Page 57 of 74
Case
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                        Document      Page 58 of 74
Case
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Case
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                        Document      Page 61 of 74
Case
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                        Document      Page 62 of 74
Case
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                        Document      Page 63 of 74
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                        Document      Page 64 of 74
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  Case
     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 65 of 74
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  Case
     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 66 of 74
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  Case
     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 67 of 74
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 68 of 74
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 69 of 74
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 70 of 74
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 71 of 74
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 72 of 74
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     2:20-cv-00298-DBB
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                        Document      Page 73 of 74
Case
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     2:20-cv-00298-DBB
        19-02043 Doc 45Document
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                        Document      Page 74 of 74
